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                    UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS


UNITED STATES OF AMERICA,
                                                   JUDGMENT IN A CIVIL CASE
                                   Plaintiff,

v.

ANGEL DILLARD,                                     Case Number: 11-1098-JTM

                                 Defendant.




       This action came on for trial before the Court and a jury, with The Honorable J. Thomas
Marten, Chief Judge, presiding, and the issues having been duly tried and the jury having duly
rendered its verdict:

       IT IS ORDERED AND ADJUDGED pursuant to the verdict that the jury finds in favor
of Defendant, Angel Dillard.

                                                   TIMOTHY M. O’BRIEN, Clerk of Court
May 10, 2016
Date

                                                   By    s/ J. Roach
                                                          Deputy Clerk
